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 6

 7                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     THE UNITED STATES OF AMERICA, ) No. CR. S-08-318 LKK
10                                 )
                    Plaintiff,     ) STIPULATION AND ORDER
11                                 ) TO CONTINUE SENTENCING AND
          v.                       ) SELF SURRENDER DATE
12                                 )
13
     CRIS ANG,                     )
     CLARISA ANG                   ) Date: 11/12/2012
14                                 ) Time: 9:15 a.m.
                    Defendants.    ) Judge: Hon. Lawrence K. Karlton
15                                 )
16
          Assistant United States Attorney Russell Carlberg and Michael
17
     Bigelow, attorney for Cris Ang, and Michael Long, attorney for
18
     Clarisa Ang stipulate that Cris Ang’s sentencing, now scheduled
19

20   for March 20, 2012 be continued to October 30, 2012, and that

21   Clarissa Ang’s self surrender date, now scheduled for May 14,
22   2012, be extended to November 12, 2012.
23
          The stipulation between the parties as set forth above is
24
     necessitated by Cris Ang’s continued ill health.
25
          As previously noted, Cris Ang was recently hospitalized with
26

27   a seizure. The MRI and EEG showed some abnormality in his brain.

28   Although he is now walking, he is able to do so only with the


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 1   assistance of a cane or a walker. However, Mr. Ang now presents
 2
     with multiple additional serious medical conditions which,
 3
     according to his doctor at UC Davis Medical Group, Elk Grove,
 4
     require ongoing follow up and treatment, including chronic
 5
     medications which cause drowsiness and impair thinking and
 6

 7   concentration. His conditions have prevented him from working and

 8   he is unable to drive.
 9
             Nor does the prognosis for the near future bode well.
10
     According to the doctor, these conditions are long term and are
11
     not expected to improve or resolve before the end of summer. In
12

13
     addition, to the above, Cris Ang will start attending the Spinal

14   Clinic for his DISH medical condition at the end of this month.

15   According to his doctor,(as related by Clarisa Ang), Cris Ang’s
16
     spine is beginning to degenerate, crushing and pinching his spinal
17
     cord. Surgery is being considered.
18
             Exacerbating the situation is the fact Cris Ang’s medical
19

20   bills are paid for entirely by Clarisa Ang’s employer paid health

21   insurance coverage. That coverage will cease when she quits her
22   job to turn herself in to the Bureau of Prisons, leaving Cris Ang
23
     without medical coverage, and without the medical care he needs.
24
     / / /
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     / / /
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 1        Accordingly, for the reasons stated above, it is respectfully
 2
     requested that this stipulation between the parties that Cris
 3
     Ang’s sentencing be continued to October 30, 2012, and that
 4
     Clarissa Ang’s self surrender date, now scheduled for May 14,
 5
     2012, be extended to November 12, 2012, be granted.
 6

 7
     Dated: March 14, 2012                    Respectfully submitted,
 8
                                              /s/ Michael Bigelow__________
 9
                                              MICHAEL BIGELOW
10                                            Attorney for Cris Ang

11   Dated: March 14, 2012                    Respectfully submitted,
12                                            /s/ Michael Long_________
13
                                              MICHAEL LONG
                                              Attorney for Clarisa Ang
14

15   Dated: March 14, 2012                    BENJAMIN WAGNER
                                              United States Attorney
16

17                                            /s/ Russell Carlberg____
                                              RUSSELL CARLBERG
18                                            Assistant U.S. Attorney
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 1                                        ORDER
 2        GOOD CAUSE HAVING BEEN SHOWN and pursuant to stipulation
 3
     between the parties, it is hereby ordered that sentencing for Cris
 4
     Ang be continued to October 30, 2012, and that Clarisa Ang’s self
 5
     surrender to the Bureau of prisons be continued to November 12,
 6

 7   2012, at 12:00 noon.

 8
     IT IS SO ORDERD
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10

11   Dated:       March 15, 2012
                                                  _________________________
12                                                LAWRENCE K. KARLTON
13
                                                  SENIOR JUDGE
                                                  UNITED STATES DISTRICT COURT
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